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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

TAMPA DIVISION
UNITED STATES OF AMERICA
Vv. Case No. 8:22-cr-437 (WFJ) (SPF)
JOHN LEE
a/k/a “Giovanni”
/

PETITION TO CLAIM INTEREST IN AND FOR ADJUDICATION OF
VALIDITY OF INTEREST IN FORFEITED PROPERTY

Joseph Grunberg, Rosalie Grunberg, Lombard Mutual LLC (“Lombard”), and Wolf
Grunberg Corp. (“Wolf Grunberg”) (collectively, the “Grunberg Petitioners”), by their
undersigned counsel, pursuant to 21 U.S.C. § 853(n) and Federal Rule of Criminal Procedure
32.2(c), petition the Court for an order recognizing the validity of their secured interest in specific

property subject to forfeiture, and respectfully state as follows:

FACTUAL BACKGROUND

1. This Petition arises out of the criminal forfeiture proceedings that are ancillary to
the criminal proceedings against John Lee (the “Defendant”).

De The Grunberg Petitioners claim a secured interest in the 103.86 Carat D Color
Internally Flawless Clarity Cushion Brilliant Cut Natural Diamond (the “Diamond”) that is among
the assets the United States seeks to forfeit in this criminal proceeding. Under federal and New
York state law, the Grunberg Petitioners are bona fide purchasers for value as lenders with a
secured collateral interest in the Diamond.

Ds Joseph Grunberg and his mother, Rosalie Grunberg, are United States citizens who

own and operate two family businesses in New York City: Wolf Grunberg, which buys and sells
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diamonds and other jewelry, and Lombard Mutual, which, in addition to buying and selling, lends
against diamonds and other jewelry that they hold as collateral.

4, In the summer of 2022, while in and around New York City, an individual who was
a trusted counterparty (the “Trusted Counterparty”) approached the Grunberg Petitioners with the
Diamond. The Grunberg Petitioners had done business with the Trusted Counterparty for almost
10 years and were unaware of any adverse information regarding the Trusted Counterparty, who
they had worked with successfully in many transactions. Unbeknownst to the Grunberg
Petitioners, however, the Diamond that the Trusted Counterparty gave to the Grunberg Petitioners
as collateral had come, directly or indirectly, from the Defendant.

Ds On or about September 14, 2022, while in New York City, the Grunberg Petitioners
agreed to loan the Trusted Counterparty $4 million (the “Loan’’) against the Diamond, which they
would hold as collateral. In a series of advances under the Loan, the Grunberg Petitioners loaned
the Trusted Counterparty $2.8 million in a combination of approximately $800,000 in wire and
cash equivalent payments and $2 million in valuable family gold and jewelry accumulated by Mr.
Grunberg’s deceased father and grandfather over decades. During this time, the Trusted
Counterparty gave the Grunberg Petitioners the Diamond to retain as collateral for the Loan. The
Grunberg Petitioners took possession of the Diamond as collateral in good faith, having a bona
fide belief that it was legitimate collateral for the Loan. Under New York law, a security interest
is perfected by the secured party taking possession of the collateral.

6. In or about mid-November 2022, federal authorities contacted the Grunberg
Petitioners and informed them, in substance, that the Diamond was stolen as part of a fraudulent
scheme. On or about November 23, 2022, the Grunberg Petitioners, through counsel, voluntarily

surrendered the Diamond to federal authorities because the federal authorities indicated, in sum
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and substance, that the Grunberg Petitioners were required to do so. Then, on or about November
28, 2022, federal authorities asked Mr. Grunberg to sign a Consent to Forfeiture, waiving any
objections or challenges to the forfeiture of the Diamond. Mr. Grunberg refused to sign the
Consent to Forfeiture given the Grunberg Petitioners’ secured interest in the Diamond!

7. On December 21, 2022, the United States filed an indictment in this Court charging
the Defendant, a self-proclaimed psychic, with four counts of mail fraud and three counts of
interstate transportation of stolen property for his role in a scheme to defraud his customers of
money and property for personal gain (the “Indictment”). ECF 15. The United States also sought
criminal forfeiture, pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c), of any property,
real or personal, which constitutes or is derived from proceeds traceable to the fraudulent scheme.
Id.

8. The Indictment alleged that as part of the fraudulent scheme, the Defendant would
convince his customers that certain of their valuables, including jewelry, needed to be cleansed of
evil spirits. Jd. { 9(e). He would then instruct the customer to ship the valuables to him to be
cleansed, but rather than return the valuables to the customer, he would offer the valuables to
potential buyers for barter and/or sale. Jd. § 9(f)-(g). In furtherance of the scheme, the Defendant
represented himself to these potential buyers as authorized to offer the valuables for barter and/or
sale, which induced these potential buyers to purchase or trade these valuables in exchange for
cash, gold, and other valuables. Jd. §] 9(h)-(i). At least one of these valuables, the Diamond, was

given by the Defendant (either directly or indirectly) to the Trusted Counterparty.

' Moreover, since surrendering the Diamond to federal authorities, counsel for the Grunberg Petitioners have written
and communicated with the Government to preserve the Grunberg Petitioners’ $2.8 million secured interest in the
Diamond.
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9. The Defendant entered into a plea agreement with the United States on November
6, 2023, whereby he agreed to plead guilty to one count of mail fraud and one count of interstate
transportation of stolen property and forfeit to the United States any and all assets and property
subject to forfeiture pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c). The United
States specifically identified the “Diamond” as an asset to be forfeited, among others, and on
December 19, 2023, moved pursuant to 21 U.S.C. § 853(p) for a preliminary order of forfeiture.
ECF 45. This Court entered a preliminary order of forfeiture on February 13, 2024, directing that
the Diamond be forfeited to the United States, subject to 21 U.S.C. § 853(n). ECF 47.7

10. On or about February 22, 2024, the Grunberg Petitioners received correspondence
from the United States Attorney’s Office for the Middle District of Florida instructing them to file
a petition for a hearing to adjudicate the validity of their interest in the Diamond within 30 days of
receipt of the letter. The letter was dated February 20, 2024.

LEGAL STANDING OF THE PETITIONERS

11. | The Grunberg Petitioners oppose forfeiture of the Diamond because, as bona fide
purchasers, the Grunberg Petitioners have a secured interest in the Diamond that is superior to the
interests of the Defendant and the interests of the United States.

12. The United States cannot seize the Grunberg Petitioners’ secured interest in the
Diamond because forfeiture in federal criminal proceedings is in personam: it is designed to punish
the offender and thus cannot be imposed upon the Grunberg Petitioners. Under § 853(n), the
United States’ interest is coextensive with that of the Defendant, because it is entitled only to the

forfeiture of property of the Defendant.

The Grunberg Petitioners are also seeking restitution as part of the Defendant’s sentencing, given that they are
victims of the fraudulent scheme.
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13. Federal law provides that “[a]ny person, other than the defendant, asserting a legal
interest in property which has been ordered forfeited to the United States . . . [may] petition the
court for a hearing to adjudicate the validity of his alleged interest in the property.” 21 U.S.C. §
853(n)(2). The court after a hearing or upon a summary judgment motion may amend the forfeiture
order if, among other reasons, it “determines that the petitioner has established by a preponderance
of the evidence that . . . the petitioner is a bona fide purchaser for value of the right, title, or interest
in the property and was at the time of purchase reasonably without cause to believe that the
property was subject to forfeiture.” 21 U.S.C. § 853(n)(6)(B); see Fed. R. Crim. P. 32.2(c)
(allowing the court to amend a forfeiture order in an ancillary proceeding based on a summary
judgment motion).

14. As innocent secured creditors, the Grunberg Petitioners hold bona fide purchaser
status under 21 U.S.C. § 853(n)(6)(B), rendering the forfeiture of the Diamond invalid. At the
time that the Grunberg Petitioners loaned $2.8 million to the Trusted Counterparty and took
possession of the Diamond as collateral, the Grunberg Petitioners were reasonably without cause
to believe that the Diamond was involved in any violation of the law or was subject to forfeiture.
Accordingly, the Grunberg Petitioners have a legal interest in the Diamond under 21 U.S.C. §
853(n)(6) and reserve all of their rights in the Diamond.

CONCLUSION

15. The Grunberg Petitioners petition the Court, if the parties are unable to stipulate or
reach a settlement, for a hearing to adjudicate the validity of their secured interest in the Diamond
as bona fide purchasers, and for an order: (a) recognizing the validity of the Grunberg Petitioners’
superior interest in the Diamond as innocent lenders; (b) ordering the United States to sell the

Diamond and return $2.8 million from the proceeds to the Grunberg Petitioners, or to return $2.8
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million to the Grunberg Petitioners from other proceeds or property obtained by the United States

in this action; and (c) for all further relief to which the Grunberg Petitioners may be entitled.

Dated: March 21, 2024 Respectfully submitted,
New York, NY
REED SMITH LLP

/s/ Mark E. Bini

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Counsel for the Grunberg Petitioners
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VERIFICATION

I hereby declare, swear and affirm, under penalty of perjury, that the facts and allegations

stated in this Petition are true and correct to the best of my knowledge.

Joseph Grunberg &

Dated: March 21, 2024

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VERIFICATION

I hereby declare, swear and affirm, under penalty of perjury, that the facts and allegations

stated in this Petition are true and correct to the best of my knowledge.

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Rosalie Grunberg ~

Dated: March 21, 2024

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VERIFICATION

I hereby declare, swear and affirm, under penalty of perjury, that the facts and allegations

stated in this Petition are true and correct to the best of my knowledge.

Dated: March 21, 2024

LOMBARD MUTUAL LLC

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By: Rosalie Grunberg

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VERIFICATION
I hereby declare, swear and affirm, under penalty of perjury, that the facts and allegations

stated in this Petition are true and correct to the best of my knowledge.

Dated: March 21, 2024

WOLF GRUNBERG CORP

By: Rosalie‘Grunberg

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CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on March 21, 2024, a true and correct copy of the foregoing
was served upon the following via FedEx Overnight

Office of the Clerk

United States District Court
Middle District of Florida

Sam Gibbons Federal Courthouse
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Nicole Andrejko

Assistant United States Attorney
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/s/ Mark E. Bini

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